         Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 1 of 7




                          IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                                            Magistrate No.     1:20-mj-56


                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


I, Valentino Cuba, being duly sworn depose and say:

       1. I am a Special Agent of the Federal Bureau of Investigation (FBI) presently assigned

to the Erie, Pennsylvania resident agency of the FBI. I am responsible for investigating violent

crimes including arson.

       2. I submit this affidavit in support of a Criminal Complaint charging Melquan Barnett

with maliciously damaging and attempting to damage or destroy, by means of fire, a building

used in interstate commerce or in any activity affecting interstate commerce, namely Ember +

Forge, 401 State Street, Erie, Pennsylvania 16501, in violation of 18 U.S.C. § 844(i). I have not

included each and every fact known to me concerning this investigation. I have set forth

only the facts that I believe are necessary to establish probable cause to believe that the

defendant committed the offense alleged in the Criminal Complaint.

       3. This affidavit is based on my personal knowledge, my review of records, interviews

conducted by law enforcement agents and officers, my review of photographs and video

recordings, and information provided to me by other law enforcement agents and from persons

with knowledge regarding relevant facts.

       4. On June 1, 2020, Detective Dave Walker of the Erie Police Department provided your

affiant with video footage from public Facebook live videos and Ember + Forge for the evening

of May 30, 2020, during the time when a public disturbance was occurring on State Street and the
          Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 2 of 7




surrounding area. The Facebook live video footage reviewed by your affiant depicted an African

American male with black dread lock hair down to the middle of his back. The subject was wearing

a white mask, white shirt, light blue jean jacket, black pants with a red and white stripe pattern

down the side and red shoes. The video footage reviewed by your affiant depicts this subject setting

a fire inside of Ember + Forge after a window at Ember + Forge that faces State Street was

shattered when another individual kicked the window.

        5. Your affiant reviewed Ember + Forge video surveillance footage which depicts the

same subject, wearing the same clothing and with the same physical appearance, setting a fire

inside of Ember + Forge through a window which has been shattered. Your affiant obtained a

still shot from the Ember + Forge footage of the subject who started the fire, which shows a neck

tattoo on the left side of the subject’s neck.




                                                 2
          Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 3 of 7




Although perhaps somewhat difficult to discern from the still shot, the video displays a clearer

depiction of the subject’s tattoos. Below is also a series of three still shots from the Ember + Forge

video footage depicting the subject, subsequently identified as Melquan Barnett, setting the fire at

Ember + Forge on May 30, 2020.




        6. During my review of additional Facebook public video footage from the area of State

Street near City Hall in Erie on the evening of May 30, 2020, your affiant identified the same

African-American individual with dreadlock hair, without the mask on, wearing the same white

shirt, light blue jean jacket, black pants with a stripe pattern down the side and red shoes. The

subject’s face is fully visible in this video footage. Officers of the Erie Police Department who

are familiar with Melquan Barnett have reviewed this video footage and identified Melquan

Barnett as the individual depicted in this video footage from State Street on May 30, 2020. Below

is a still shot from that video footage.



                                                  3
         Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 4 of 7




       7. Your affiant obtained Melquan Barnett’s criminal history from the Commonwealth of

Pennsylvania. As part of the booking process, photos of the arrestee are taken and included as part

of the criminal history. Melquan Barnett’s neck tattoo is depicted in the booking photo your affiant

has reviewed. The booking photo is included below. The neck tattoo depicted on the subject from

the above included still shot from the Ember + Forge video footage is consistent with the neck

tattoo depicted in Melquan Barnett’s prior booking photo.




                                                 4
         Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 5 of 7




       8. On June 1, 2020 your affiant visited Ember + Forge and measured the height of a beige

concrete mark or block on the front of the Ember + Forge building which faces State Street. This

beige block is immediately adjacent to the exterior window through which the fire was set on May

30, 2020. The beige concrete block or mark was used as a reference point to determine the height

of the subject, since identified as Melquan Barnett, who lit the fire at Ember + Forge on May 30,

2020. The reference point measures between approximately seventy (70) and seventy-eight (78)

inches. According to Barnett’s Pennsylvania driver’s license, Barnett’s height is listed as 6’00”.

My review of the May 30, 2020, Facebook live footage of the arson at Ember + Forge shows the

arson subject, later identified as Melquan Barnett, with a height that is very similar to the height

listed on Barnett’s Pennsylvania driver’s license. The similarity is depicted in the below included

still shot from the May 30, 2020 Facebook live footage of Ember + Forge and the height of the

reference point depicted in the adjacent image of the beige block.



                                                 5
         Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 6 of 7




        9. On June 2, 2020, ATF Special Agent/Certified Fire Investigator Matthew Regentin

conducted a fire scene examination of Ember + Forge Coffee Shop. Data is still being collected

and analyzed pursuant to the investigation. However, based upon an analysis of the collected data,

which includes an examination of the scene and a review of available video footage, the fire

originated on an interior counter top on the west side of the premises adjacent to an exterior

window that had been broken out prior to the fire. The collected data is also consistent with the

fire being caused by the intentional introduction of an ignitable liquid to the countertop through

the broken window and the ignition of the ignitable liquid vapors by an open flame device. The

data obtained during the investigation supports a classification of Incendiary. There was no

information found during the investigation to support an accidental cause hypothesis. These

findings are preliminary and are subject to a final origin and cause report.



                                                 6
         Case 1:20-cr-00018-SPB Document 1-1 Filed 06/03/20 Page 7 of 7




       10. Ember + Forge is a coffee shop in Erie, Pennsylvania engaged in interstate commerce

and activity affecting interstate commerce in numerous different ways, including but not limited

to, maintaining a Facebook page, an Instagram account and a website on the Internet, as well as

offering gift cards for sale via the Internet. Ember + Forge also purchases their coffee cups for use

in the store from New York State.

       WHEREFORE, based upon all of the foregoing information, I have probable cause to

believe that on May 30, 2020, Melquan Barnett maliciously damaged and attempted to damage

and destroy, by means of fire, a building used in interstate commerce or in any activity affecting

interstate commerce, namely Ember + Forge, 401 State Street, Erie, Pennsylvania 16501, in

violation of Title 18, United States Code, Section 844(i).



                                                  S/Valentino Cuba
                                                  Valentino Cuba
                                                  Special Agent
                                                  Federal Bureau of Investigation

Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 3rd day of June 2020



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RICHARD A. LANZILLO
United States Magistrate Judge




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